                  IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION

In re:                                                    )
                                                          )    Chapter 11
Vanguard Healthcare, LLC1,                                )    Case No. 16-03296
                                                          )    Judge Mashburn
                                                          )
Six Cadillac Dr., Suite 310                               )    Jointly Administrated
Brentwood, TN 37027                                       )
                                                          )
                       Debtors.
                                                          )


         DEBTORS’ FOURTH AMENDED JOINT PLAN OF REORGANIZATION


                                                  ARTICLE I
                                                  SUMMARY

        1.01 This Plan of Reorganization under Chapter 11 of the Bankruptcy Code is being
presented by the following Debtors in this jointly administered case:


          Vanguard Healthcare, LLC, Case No. 16-03296
          Vanguard Healthcare Services, LLC, Case No. 16-03297
          Vanguard Financial Services, LLC, Case No. 16-03298
          Aurora Australis, LLC, Case No. 16-03300
          Boulevard Terrace, LLC, Case No. 16-03302
          Eldercare of Jackson County, LLC, Case No. 16-03308
          Elderscript Services, LLC, Case No. 16-03306
          Glen Oaks, LLC, Case No. 03310
          Palace RBS, LLC, Case No. 16-03312
          Shady Lawn, LLC, Case No. 16-03313
          Vanguard of Ashland, LLC, Case No. 16-03314
          Vanguard of Church Hill, LLC, Case No. 16-03315
          Vanguard of Manchester, LLC, Case No. 16-03317
          Vanguard of Ripley, LLC, Case No. 16-03319
          Vicksburg Convalescent, LLC, Case No. 16-03321
          Whitehall OpCo, LLC, Case No. 16-03322

1 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Vanguard Healthcare, LLC (9650); Vanguard Healthcare Services, LLC (7563); Vanguard Financial Services, LLC
(3403); Aurora Australis, LLC (7099); Boulevard Terrace, LLC (8709); Elderscript Services, LLC (4179); Eldercare
of Jackson County, LLC (7855); Glen Oaks, LLC (8238); Palace RBS, LLC (9601); Shady Lawn, LLC (7397);
Vanguard of Ashland, LLC (8367); Vanguard of Church Hill, LLC (1049); Vanguard of Crestview, LLC (1046);
Vanguard of Manchester, LLC (6203); Vanguard of Memphis, LLC (4623); Vanguard of Ripley, LLC (1050);
Vicksburg Convalescent, LLC (7298); and Whitehall OpCo, LLC (6186).
                                                           1

 Case 3:16-bk-03296            Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28                             Desc
                                  Main Document     Page 1 of 36
         1.02 This Plan provides for seven classes of Claims and one class of equity Interests.
Although this is a joint plan, the Plan does not effect a substantive consolidation of the assets and
claims of each Debtor and not all classes apply to each Debtor. All Creditors and equity security
holders should refer to Articles III through VI of this Plan for information regarding the precise
treatment of their Claim for each applicable Debtor.

         1.03 The holders of Claims and Interests will be asked to vote on each Plan for each
applicable Debtor in which that party asserts a Claim or Interest.

         1.04 A Disclosure Statement (Docket No. 968) that provides more detailed
information regarding this Plan and the rights of creditors and equity security holders has been
circulated with this Plan. Your rights may be affected. You should read these papers
carefully and discuss them with your attorney, if you have one. (If you do not have an
attorney, you may wish to consult one.)

                                          ARTICLE II
                                         DEFINITIONS

       The definitions and rules of construction set forth in §§101 and 102 of the Bankruptcy
Code shall apply when terms defined or construed in the Code are used in this Plan, and are
supplemented by the following definitions:

        2.01 "Amendment Fees" shall mean, collectively, all amendment fees that were owing
as of the Date of Filing (and continue to be owed) by the Debtors and other borrowers under the
Revolving Loan Documents and Term Loan Documents. As of December 31, 2016, the unpaid
Amendment Fees total $1,366,713.93.

        2.02 “Administrative Expense” shall mean an expense that is allowed for payment
pursuant to § 503 of the Code.

          2.03 “Administrative Expense Bar Date” means the date by which any request for
payment of Administrative Expenses is deemed to be timely filed and served under § 503(a) of
the Code, which date shall be thirty (30) days following the Effective Date of the Plan, provided
(i) applications for payment of fees and expenses of professionals under § 330 will be deemed
timely filed and served if filed and served within sixty (60) days following the Effective Date of
the Plan.

         2.04 “Allowed Claim” shall mean a Claim treated under the Plan in the amount
allowed for payment under the Bankruptcy Code. For the purposes of this Plan, a Claim will be
deemed an Allowed Claim only as follows: (i) the amount scheduled by the Debtors and not
otherwise marked by any Debtors as being contingent, disputed or unliquidated in that Debtor’s
respective Chapter 11 case, (ii) the amount evidenced by a proof of claim filed with the Court as
of the Claim Bar Date, or (iii) the amount evidenced by a proof of claim filed after the Claim Bar
Date that is allowed by agreement of the Debtors or Court order, provided any Claim that is the
subject to an objection filed by any party in interest within 45 days following Confirmation as to

                                                 2

Case 3:16-bk-03296         Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28                  Desc
                              Main Document     Page 2 of 36
its amount shall not be an Allowed Claim in any amount for purposes of distribution until the
objection has been resolved by agreement or final order.

        2.05    “Case(s)” shall mean the Chapter 11 cases specified in Section 1.01.

        2.06 “Causes of Action” shall mean all claims that any      Debtor has as of the Effective
Date of the Plan against any party, including, but not limited to   claims listed on the Vanguard
Healthcare LLC Schedule A/B (Docket No. 90), including but          not limited to, claims against
Signature Healthcare LLC , but excluding the claims settled with    Kindred Nursing Centers East
and Kindred Healthcare Operating Inc.

        2.07   “Chapter 11” shall mean Chapter 11 of the Code.

        2.08 “Claim” shall mean a claim against a Debtor as defined in §101(5) of the Code
and includes any unliquidated claim for professional or general liability covered by the Debtors’
insurance.

          2.09 “Claim Bar Date” shall mean September 6, 2016 for non-governmental claimants
and November 2, 2016 for government claims (except for claims asserted by the government
under the False Claims Act), provided (i) the deadline for filing claims against any Debtor
arising from the rejection of an executory contract or unexpired lease of the Debtor shall be
either September 6, 2016, or thirty (30) days following the rejection of the agreement, whichever
is later, and (ii) upon any amendment to the Debtors’ schedules regarding any Claim for which
no proof of claim has been filed, the affected creditor will have thirty (30) days following the
amendment to file a proof of claim.

        2.10 “Code” shall mean the Bankruptcy Reform Act of 1978, as amended, 11 U.S.C.
§§101, et seq.

        2.11 "Commitment Fee" shall mean the fee for restructuring payable to the
Restructured Loan Lender under the Restructured HFS Loan Documents.

        2.12 “Committee” shall mean the Official Committee of Unsecured Creditors
appointed by the U.S. Trustee by Notice filed May 24, 2016 (Docket No. 89), and the Court
approved counsel for the Committee.

        2.13 “Confirmation” or “Confirmation Order” shall mean the entry by the Court of an
order confirming the Plan.

         2.14 “Confirmation Hearing” shall mean the date that the hearing on the confirmation
of the Plan is completed.

       2.15 “Court” shall mean the United States Bankruptcy Court for the Middle District of
Tennessee and Judge Mashburn assigned to these jointly administered Cases.

        2.16   “Creditor” shall have the meaning defined in §101(10) of the Code.

        2.17 “Date of Filing” shall mean May 6, 2016 as the date that the Debtors filed their
Chapter 11 petitions that commenced these Chapter 11 Cases.
                                                3

Case 3:16-bk-03296        Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28                Desc
                             Main Document     Page 3 of 36
        2.18    “Debt” shall have the meaning defined in § 101(12) of the Code.

         2.19 “Debtor(s)” shall mean the entities listed in Section 1.01 with the status of and
rights conferred to a debtor-in-possession by §1107 of the Code.

        2.20 “Distribution” means any distribution provided for in this Plan by the Debtors to
holders of Allowed Claims in full or partial satisfaction of such Allowed Claims.

        2.21    “Effective Date Conditions" shall mean, collectively, the following: (a) a sale of
the Whitehall Facility acceptable to HFS (i) has been approved by the Court and has closed, and
(ii) HFS has received a cash payment at closing in the amount of at least $21,000,000; (b) the
sale of Shady Lawn under terms acceptable to the Debtors, the Committee and HFS has closed,
HFS has received a cash payment at closing in the amount of at least $3,500,000, and the
Debtors have received at least $3,700,000 to provide funding for the Plan; and (c) the Debtors
have received funding of net loan proceeds at least in the amount $1,800,000 from the
subordinated loan to Debtor Vanguard Healthcare, LLC in accordance with the terms of an order
acceptable to HFS approving that loan.

        2.22     “Effective Date of the Plan” shall mean the later of (i) the first business day of
the second full month following the Confirmation, (ii) the first business day after an appeal of an
order confirming this Plan has become final and unappealable; and (iii) the date each of the
Effective Date Conditions has been satisfied, provided that, at any time that all of the Effective
Date Conditions have been satisfied, the Debtors may designate an earlier Effective Date of the
Plan by filing written notice thereof in the Cases and serving such notice on all affected creditors
and parties in interest, and provided further, that the Effective Date shall not be extended beyond
February 1, 2018.

        2.23    “Facility” shall mean the patient care facilities operated by the Debtors.

          2.24 "HFS" shall mean Healthcare Financial Solutions, LLC, a Delaware limited
liability company.

        2.25 "HFS Loan Obligations" shall mean, collectively, all obligations of the Debtors
and other borrowers and credit parties under the Revolving Loan Documents and the Term Loan
Documents.

        2.26   “Interest Rate” shall mean a fixed rate of six percent (6%) per annum. If this rate
is not approved by the Court at Confirmation, the applicable rate under the Plan shall be the rate
determined to be allowable by the Court.

        2.27    “Interests” shall mean the equity interests in the Debtors.

       2.28 “Master Service List” shall mean the U.S. Trustee, the Committee, the Patient
Care Ombudsman, and the holders of Secured Claims, and their counsel.

        2.29 "Madison Loan Guaranty" shall mean that certain Holdings Guaranty dated as of
April 30, 2013, as amended from time to time, executed by Debtor Vanguard Healthcare, LLC,
as guarantor.

                                                 4

Case 3:16-bk-03296         Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28                 Desc
                              Main Document     Page 4 of 36
         2.30 “Non-Debtor Borrowers” shall mean the entities that are obligated on the HFS
Loan Obligations as borrowers or guarantors and did not file Chapter 11 petitions with the
Debtors, including the entities who are the owners of the real property where the Facilities are
located.

        2.31 “Patient Care Ombudsman” shall mean Laura E. Brown, State Long-Term Care
Ombudsman, TN Commission on Aging and Disability, 502 Deaderick Street, 9th Floor, Andrew
Jackson Building, Nashville, TN 37243-0860, pursuant to Appointment dated May 31, 2016
(Docket No. 112).

         2.32 “Plan” shall mean this Chapter 11 Plan as the same may be modified from time
to time in accordance herewith or pursuant to applicable law.

       2.33     “Priority Claim” shall mean a Claim that is entitled to priority under §507.

         2.34 “Property” shall mean all assets in which any Debtor has an interest as of the
Effective Date of the Plan..

         2.35 “Pro Rata” means the proportion that (a) an Allowed Claim in a particular Class
bears to the aggregate amount of all Allowed Claims in that Class, or (b) Allowed Claims in a
particular Class bear to the aggregate amount of Allowed Claims in a particular Class and other
Classes entitled to share in the same recovery as such Allowed Claim under this Plan.

        2.36 “Reorganized Debtor” shall mean each of the Debtors listed in Section 1.01 after
the Effective Date of the Plan, with the exception of Whitehall OpCo, LLC

         2.37 "Restructured HFS Loan" shall mean the amended and restated loan
consolidating the Revolving Loan, the Term Loan and related obligations, which shall be
payable by the Reorganized Debtors, the other Restructured Loan Borrowers, and the other
credit parties under the terms and conditions of the Restructured HFS Loan Documents.

         2.38 "Restructured HFS Loan Documents" shall mean the credit agreement and all
related loan and security documents, in form and content acceptable to HFS in its sole discretion,
required by HFS to evidence and secure the Restructured HFS Loan and the terms and conditions
thereof.

        2.39 "Restructured Loan Agent" shall mean the agent for the lenders under the
Restructured HFS Loan Documents. On the Effective Date of the Plan, HFS will be the initial
Restructured Loan Agent.

       2.40 "Restructured Loan Borrowers" shall mean the borrowers under the Restructured
HFS Loan Documents.

         2.41 "Restructured Loan Lender" shall mean, collectively, all lenders from time to
time under the Restructured HFS Loan Documents. On the Effective Date of the Plan, HFS will
be the sole Restructured Loan Lender.



                                                5

Case 3:16-bk-03296        Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28                    Desc
                             Main Document     Page 5 of 36
         2.42 "Revolving Loan" shall mean, collectively, the revolving credit facility loans and
related obligations owing to HFS by the operating company Debtors and Vanguard Healthcare,
LLC pursuant to the Revolving Loan Documents.

         2.43 "Revolving Loan Documents" shall mean that certain Credit Agreement dated as
of July 31, 2012, as has been amended from time to time, among the fifteen (15) operating
company Debtors, as borrowers, Debtor Vanguard Healthcare, LLC, the lenders signatory
thereto, and HFS (as assignee of General Electric Capital Corporation), as administrative agent,
and all related loan and security documents.

         2.44 “Secured Claim” shall mean a Claim that is a “secured claim” either under the
terms of the Plan or pursuant to §506.

        2.45 "Term Loan" shall mean, collectively, the term loans and related obligations
owing to HFS by the operating company Debtors, the Non-Debtor Borrowers, and Vanguard
Healthcare, LLC pursuant to the Term Loan Documents.

         2.46 "Term Loan Documents" shall mean that certain Credit Agreement dated as of
July 29, 2011, as has been amended from time to time, among the operating Debtors, the Non-
Debtor Borrowers, Debtor Vanguard Healthcare, LLC, the lenders signatory thereto, HFS (as
assignee of General Electric Capital Corporation), as administrative agent, and all related loan
and security documents.

          2.47 “Unsecured Claim” shall mean a Claim that is not otherwise a Secured Claim or
a Priority Claim.

        2.48 “Whitehall Facility” shall mean the Facility known as Whitehall Boca Raton
located at 7300 Del Prado South, Boca Raton, FL 33422, which is owned by non-Debtor WHJ
Limited Liability Partnership and operated by Debtor Whitehall Opco, LLC.



                                 ARTICLE III
                   CLASSIFICATION OF CLAIMS AND INTERESTS

        3.01 The following Classes shall apply to the Case of Elderscript Services, LLC, Case
No. 16-03306:

              Class 1.       The Secured Claims of Healthcare Financial Solutions, LLC

              Class 2.       The Secured Claim of AmerisourceBergen.

              Class 3.     The Claims asserted by the United States on behalf of the
              Department of Health and Human Services and the State of Tennessee on behalf
              of TennCare, a Division of Health Care Finance & Administration (“Government
              Entities”).



                                               6

Case 3:16-bk-03296       Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28               Desc
                            Main Document     Page 6 of 36
            Class 4        The Claims asserted for damages from personal injuries or
            wrongful death that are covered by the Debtors’ insurance policy with BHC-LTC
            Insurance Ltd.

            Class 5       Unsecured Claims not otherwise in a Class herein

            Class 8.      The Interests in Elderscript Services, LLC held by Vanguard
            Healthcare, LLC



     3.02    The following Classes shall apply to the Cases of the following Debtors:

             Boulevard Terrace, LLC, Case No. 16-03302
             Glen Oaks, LLC, Case No. 16-03310
             Vanguard of Manchester, LLC, Case No. 16-03317


            Class 1.      The Secured Claims of Healthcare Financial Solutions, LLC

            Class 3.     The Claims asserted by the United States on behalf of the
            Department of Health and Human Services and the State of Tennessee on behalf
            of TennCare, a Division of Health Care Finance & Administration (“Government
            Entities”).

            Class 4        The Claims asserted for damages from personal injuries or
            wrongful death that are covered by the Debtors’ insurance policy with BHC-LTC
            Insurance Ltd.

            Class 5       Unsecured Claims not otherwise in a Class herein

            Class 8.      The Interests in each Debtor held by Vanguard Healthcare, LLC



     3.03    The following Classes shall apply to the Cases of the following Debtors:

             Aurora Australis, LLC, Case No. 16-03300
             Eldercare of Jackson County, LLC, Case No. 16-03308
             Palace RBS, LLC, Case No. 16-03312
             Shady Lawn, LLC, Case No. 16-03313
             Vanguard of Ashland, LLC, Case No. 16-03314
             Vanguard of Church Hill, LLC, Case No. 16-03315
             Vanguard of Ripley, LLC, Case No. 16-03319
             Vicksburg Convalescent, LLC, Case No. 16-03321
             Whitehall OpCo, LLC, Case No. 16-03322


            Class 1.      The Secured Claims of Healthcare Financial Solutions, LLC
                                            7

Case 3:16-bk-03296     Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28                Desc
                          Main Document     Page 7 of 36
            Class 4        The Claims asserted for damages from personal injuries or
            wrongful death that are covered by the Debtors’ insurance policy with BHC-LTC
            Insurance Ltd.

            Class 5       Unsecured Claims not otherwise in a Class herein

            Class 8.      The Interests in each Debtor held by Vanguard Healthcare, LLC

     3.04   The following Classes shall apply to the Case of Vanguard Healthcare, LLC,
     Case No. 16-3296

            Class 1.      The Secured Claims of Healthcare Financial Solutions, LLC

            Class 3.     The Claims asserted by the United States on behalf of the
            Department of Health and Human Services and the State of Tennessee on behalf
            of TennCare, a Division of Health Care Finance & Administration (“Government
            Entities”).

            Class 4        The Claims asserted for damages from personal injuries or
            wrongful death that are covered by the Debtors’ insurance policy with BHC-LTC
            Insurance Ltd.

            Class 6.      Certain Claims that are subordinated to the Claims of HFS.

            Class 7:       The Claims that are not included in Class 6 and for which liability
            is limited to Vanguard Healthcare, LLC, Vanguard Healthcare Services, LLC,
            and/or Vanguard Financial Services, LLC

            Class 8.      The Interests in Vanguard Healthcare LLC

     3.05   The following Classes shall apply to the Case of Vanguard Healthcare Services,
     LLC, Case No. 16-03297

            Class 3.     The Claims asserted by the United States on behalf of the
            Department of Health and Human Services and the State of Tennessee on behalf
            of TennCare, a Division of Health Care Finance & Administration (“Government
            Entities”).

            Class 4        The Claims asserted for damages from personal injuries or
            wrongful death that are covered by the Debtors’ insurance policy with BHC-LTC
            Insurance Ltd.

            Class 7:      The Claims that are not included in Class 6 (as to Vanguard
            Healthcare, LLC) and for which liability is limited to Vanguard Healthcare, LLC,
            Vanguard Healthcare Services, LLC, and/or Vanguard Financial Services, LLC

            Class 8.     The Interests in Vanguard Healthcare Services, LLC held by
            Vanguard Healthcare, LLC

                                            8

Case 3:16-bk-03296     Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28               Desc
                          Main Document     Page 8 of 36
       3.06   The following Classes shall apply to the Case of Vanguard Financial Services,
       LLC, Case No. 16-03298

               Class 3.     The Claims asserted by the United States on behalf of the
               Department of Health and Human Services and the State of Tennessee on behalf
               of TennCare, a Division of Health Care Finance & Administration (“Government
               Entities”).

               Class 4        The Claims asserted for damages from personal injuries or
               wrongful death that are covered by the Debtors’ insurance policy with BHC-LTC
               Insurance Ltd.

               Class 7:      The Allowed Claims that are not included in Class 6 (as to
               Vanguard Healthcare, LLC) and for which liability is limited to Vanguard
               Healthcare, LLC, Vanguard Healthcare Services, LLC, and/or Vanguard Financial
               Services, LLC

               Class 8.     The Interests in Vanguard Financial Services, LLC held by
               Vanguard Healthcare, LLC



                              ARTICLE IV
               TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS
                         AND U.S. TRUSTEES FEES

         4.01 Administrative Expense Claims. Administrative Expenses are not in a class
defined herein. Except as otherwise provided under the Plan, each holder of an Administrative
Expense allowed under § 503 of the Code and timely filed by the Administrative Expense Bar
Date or incurred by the operating Debtors in the ordinary course of business will be paid in full
at the later of (i) the time that the expense has been approved by the Court by a final order, (ii)
the due date incurred in the ordinary course of business (for Administrative Expenses incurred in
the ordinary course of business by an operating Debtor), (iii) upon such other terms as may be
agreed upon by the holder of the Claim, or (iv) the Effective Date of the Plan.

         4.02 Priority Claims. Priority Claims that are Allowed Claims under §507(a) will be
paid in full on the Effective Date of the Plan, provided Allowed Claims under §507(a)(8) and
secured tax claims will be paid over a period ending not later than five (5) years after the Date of
Filing with interest accruing at the applicable federal rate.

        4.03 United States Trustee Fees. All fees required to be paid by 28 U.S.C. §
1930(a)(6) (U.S. Trustee Fees) will accrue and be timely paid until the Case is closed, dismissed,
converted to another chapter of the Code, or until a final decree is entered by the Court..




                                                 9

Case 3:16-bk-03296        Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28                 Desc
                             Main Document     Page 9 of 36
                                  ARTICLE V
               TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN

           5.01 Claims and Interests in a Class specified in Sections 3.01to 3.04 in Article III
   above shall be treated as follows:

      Class             Impairment                                        Treatment
Class 1 –               Impaired          The Claims held by HFS shall constitute Allowed Claims as
Healthcare                                provided below, including the HFS Loan Obligations which shall
Financial Services                        be repaid in full under the terms and conditions of the
(“HFS”)                                   Restructured HFS Loan2 as described below.
                                          1.      Loan Amount.         The initial principal amount of the
                                          restructured loan (the "Restructured HFS Loan") shall be the
                                          amount equal to the sum of (a) the aggregate amount of all HFS
                                          Loan Obligations owing under the Revolving Loan Documents
                                          and the Term Loan Documents as of the Effective Date of the
                                          Plan, except for (i) the Amendment Fees owing under the
                                          Revolving Loan Documents and the Term Loan Documents
                                          (which shall be paid as provided below), and (ii) the HFS Fee
                                          Payment Amount (defined below), which shall be paid to HFS on
                                          the Effective Date, plus (b) the amount of the Commitment Fee.

                                                  The "HFS Fee Payment Amount" means the amount equal
                                          to the amount of professionals fees and costs incurred by HFS
                                          from and after August 29, 2017 relating to disputes or litigation
                                          between HFS and either Debtors or the Committee regarding
                                          Debtors' use of cash collateral (or the terms of any cash collateral
                                          order), Debtors' plan of reorganization, or any other issues adverse
                                          to HFS. For the avoidance of doubt, Debtors shall pay to HFS the
                                          HFS Fee Payment Amount on the Effective Date of the Plan, and
                                          the amount of all unreimbursed professional fees and costs
                                          incurred by HFS in excess of the HFS Fee Payment Amount shall
                                          be included in the initial principal amount of the Restructured HFS
                                          Loan.

                                          2.     Lender under Restructured HFS Loan. The Restructured
                                          Loan Lender under the Restructured HFS Loan shall be the same
                                          as the lender under the Term Loan Documents, and the
                                          Restructured Loan Agent under the Restructured HFS Loan shall
                                          be the same as the administrative agent under the Term Loan
                                          Documents. As of the Effective Date of the Plan, HFS will be the
                                          sole Restructured Loan Lender and the Restructured Loan Agent.

                                          3.       Borrowers under Restructured HFS Loan. The borrowers

   2 The form of the primary Restructured HFS Loan Documents will be filed with the Court separately at least one
   week prior to the Confirmation Hearing.
                                                       10

    Case 3:16-bk-03296           Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28                         Desc
                                    Main Document    Page 10 of 36
 Class        Impairment                                Treatment
                           under the Restructured HFS Loan (i.e., the Restructured Loan
                           Borrowers) shall include all borrowers under both the existing
                           Term Loan and the existing Revolving Loan and shall include, as
                           applicable, those entities in their capacity as Reorganized Debtors
                           under this Plan.

                           4.       No Advances. The Restructured Loan is fully funded and
                           there is no commitment by HFS to provide any additional funding.
                           Accordingly, the Restructured Loan Borrowers shall not be
                           eligible to request, and the Restructured Loan Agent and the
                           Restructured Loan Lender shall have no obligation to fund, any
                           advances under the Restructured HFS Loan.

                           5.       Facilities. As of the Effective Date of the Plan, the
                           Restructured Loan Borrowers shall continue to own and operate
                           the same skilled nursing Facilities that they owned and operated as
                           of the Date of Filing, except for (i) the Facilities owned by
                           Vanguard of Crestview, LLC and Vanguard of Memphis, LLC
                           (which have been sold), (ii) the Whitehall Facility after it is sold or
                           transferred prior to the Effective Date of the Plan in a transaction
                           or transactions either acceptable to HFS or provided in this
                           treatment of Class 1 Claims, and (iii) the Shady Lawn Facility
                           after it is sold or transferred prior to the Effective Date of the Plan
                           pursuant to terms acceptable to Debtors and HFS

                           6.      Non-Default Interest Rate. The Restructured HFS Loan
                           shall bear interest at a floating rate calculated using a spread (the
                           “Spread”) over 90-day LIBOR, subject to a floor. The Spread
                           shall be 425 bps, and a floor of 50 bps.

                           7.       Term/Maturity Date. The term of the Restructured HFS
                           Loan shall be 36 months after the Effective Date of the Plan. All
                           obligations owing by the Restructured Loan Borrowers under the
                           Restructured HFS Loan Documents shall be due and payable in
                           full on the maturity date. If a default or event of default under the
                           Restructured HFS Loan Documents has not occurred, and the
                           Extension Condition (defined below) is satisfied when the
                           Restructured Loan Borrowers seek to exercise an extension option,
                           the Restructured Loan Borrowers shall have (i) an option to extend
                           the maturity of the Restructured HFS Loan until 48 months after
                           the Effective Date of the Plan (at a non-default interest rate with a
                           Spread of 475 bps, and a floor of 50 bps), and (ii) a further option
                           to extend the maturity of the Restructured HFS Loan until 60
                           months after the Effective Date of the Plan (at a non-default
                           interest rate with a Spread of 525 bps, and a floor of 50 bps). The
                           "Extension Condition" shall mean the satisfaction of the following
                                         11

Case 3:16-bk-03296   Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28                Desc
                        Main Document    Page 11 of 36
 Class        Impairment                               Treatment
                           financial covenants (based on updated appraisals of Facilities then
                           owned by the Restructured Loan Borrowers as will be detailed in
                           the Restructured HFS Loan Documents): (i) a LTV of no more
                           than 65%; and (ii) a total debt to value of no more than 75%.

                           8.      Repayment. All obligations under the Restructured HFS
                           Loan Documents shall be due and payable in full on the earlier of
                           the maturity date, or acceleration after occurrence of an event of
                           default as provided in the Restructured HFS Loan Documents.

                           9.      Monthly Payments.         The Restructured HFS Loan
                           Documents shall provide for monthly principal payments
                           computed on the basis of a 25-year amortization schedule with an
                           assumed interest rate of 5.25%. (If the Restructured Loan
                           Borrowers opt to extend the maturity date, principal payments
                           shall be recalculated by HFS based on assumed interest rates of
                           5.75% and 6.25%, as applicable for the particular extension).
                           Interest payments shall be computed on the basis of the actual
                           number of days in the year divided by a 360-day year (i.e.,
                           Actual/360). Payments of principal and interest (in arrears) shall
                           be due and payable on the first day of each month.

                           10.      Fees. Fees with respect to the Restructured HFS Loan
                           shall include (i) the Commitment Fee in an amount equal to 0.5%
                           of the initial principal amount of the Restructured HFS Loan (for
                           purposes of this calculation only, excluding the Commitment Fee);
                           (ii) a collateral monitoring fee equal to $150 per Facility per
                           month, payable monthly; and (iii) an exit fee ("Exit Fee") equal to
                           the dollar amount of all unpaid Amendment Fees owing under the
                           Revolving Loan Documents and the Term Loan Documents
                           (which total $1,366,713.93). The Commitment Fee shall be fully
                           earned as of the Effective Date of the Plan, and shall be included
                           in the initial principal amount of the Restructured HFS Loan. The
                           Exit Fee is subject to reduction as follows if all obligations owing
                           under the Restructured HFS Loan Documents are indefeasibly
                           paid in full to Restructured Loan Lender by the following times:
                           (x) all obligations indefeasibly paid in full within the first 12
                           months of the loan term - 2/3 of the Exit Fee not payable; and (y)
                           all obligations indefeasibly paid in full within the first 24 months
                           of the loan term - 1/3 of the Exit Fee not payable. If all
                           obligations owing under the Restructured HFS Loan Documents
                           are not indefeasibly paid in full within the first 24 months of the
                           loan term, the full amount of the Exit Fee shall be due and payable
                           on maturity or acceleration.

                           11.    Collateral.   As security for the Restructured HFS Loan,
                                        12

Case 3:16-bk-03296   Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28              Desc
                        Main Document    Page 12 of 36
 Class        Impairment                                Treatment
                           Restructured Loan Agent, on behalf of Restructured Loan Lender,
                           shall retain and be granted continuing first position senior liens
                           and security interests on, and pledges of, all of the collateral
                           securing the existing Term Loan and/or the existing Revolving
                           Loan (and guaranties thereof) as of the Effective Date of the Plan,
                           including, but not limited to, first position senior liens and security
                           interests on all of the Facilities and all personal property of each
                           Restructured Loan Borrower, under terms acceptable to HFS in its
                           sole discretion.

                           12.      Eligible AR. The Restructured HFS Loan Documents shall
                           include a covenant that the Restructured Loan Borrowers that are
                           operating the Facilities shall maintain a consolidated level of
                           eligible accounts and cash deposits in deposit accounts subject to a
                           control agreement in favor of the Restructured Loan Agent in an
                           amount mutually acceptable to the Debtors and HFS.

                           13.     Sale of a Facility. After the closing of any sale of a
                           Facility in accordance with the release provisions stated below
                           (not including the sale of the Crestview Facility or the Poplar
                           Point Facility), all proceeds of accounts generated by that Facility
                           prior to the sale and collected after the closing date shall be paid to
                           Restructured Loan Agent and applied against the Restructured
                           HFS Loan; provided, however, that, upon the sale of the Whitehall
                           Facility and the payment of a cash payment at closing of at least
                           $21,000,000 to HFS in compliance with the release provisions
                           stated below, the Restructured Loan Borrowers shall be allowed to
                           retain as working capital cash in its bank accounts and proceeds of
                           accounts generated by the Whitehall Facility that are collected
                           after the closing date.

                           14.     Release Provisions.       The Restructured HFS Loan
                           Documents shall provide release provisions containing conditions
                           regarding potential sales of the Facilities to third parties unrelated
                           to the Restructured Loan Borrowers, based on the following
                           factors (determined in a manner acceptable to the Restructured
                           Loan Agent):

                                  (i)     No default under the Restructured HFS Loan
                                          Documents has occurred;

                                  (ii)    The Restructured Loan Borrowers shall make a cash
                                          payment to the Restructured Loan Agent (for the
                                          benefit of the Restructured Loan Lender) at closing
                                          of at least 80% of the gross sale proceeds, except
                                          only with respect to (A) a sale of the Whitehall
                                         13

Case 3:16-bk-03296   Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28                Desc
                        Main Document    Page 13 of 36
 Class        Impairment                                Treatment
                                           Facility, in which case the Restructured Loan
                                           Borrowers shall make a cash payment to the
                                           Restructured Loan Agent (for the benefit of the
                                           Restructured Loan Lender) at closing in an amount
                                           equal to the greater of 70% of the gross sale
                                           proceeds or $21,000,000, and (B) a sale of the
                                           Shady Lawn Facility (owned by Vicksburg PropCo,
                                           LLC), in which case the Restructured Loan
                                           Borrowers shall make a cash payment to the
                                           Restructured Loan Agent (for the benefit of the
                                           Restructured Loan Lender) at closing in an amount
                                           equal to the greater of 46% of the gross sale
                                           proceeds or $3,500,000;

                                  (iii)    The pro forma project yield following the release of
                                           such Facility does not decrease and is at least the
                                           following -- 14.0% if the sale closing is during the
                                           first 12 months after the Effective Date of the Plan,
                                           15.0% if the sale closing is during the second 12
                                           months after the Effective Date of the Plan, and
                                           16.0% thereafter; and

                                  (iv)     Immediately following such proposed sale, (A)
                                           there must be at least 5 remaining Facilities
                                           securing the Restructured HFS Loan, (B) LTV of no
                                           more than 65% (based on current appraised values
                                           of remaining Facilities), (C) a prospective Fixed
                                           Charge Coverage Ratio for the remaining Facilities
                                           of at least 1.20x, and (D) the pro forma Debt
                                           Service Coverage Ratio must be greater than 1.5x
                                           (ANOI / projected debt service).

                                  15.      Operating Leases/Management Agreements. Any
                           amendments to the terms of the operating leases or management
                           agreements from and after the Effective Date of the Plan must be
                           acceptable to the Restructured Loan Agent in its sole discretion.

                                    16.   Guarantor. All of the existing guaranties of the
                           Revolving Loan and/or the Term Loan shall continue in effect as
                           to the Restructured HFS Loan, and shall include, without
                           limitation, an unconditional and unlimited guaranty of payment
                           and performance of the Restructured HFS Loan by reorganized
                           Vanguard Healthcare, LLC, and limited guaranties of the
                           Restructured HFS Loan by Bill Orand and Jere Ervin (with the
                           same dollar amount limitations as their existing guaranties). The
                           injunction provisions provided herein in Section 9.02 shall not
                                          14

Case 3:16-bk-03296   Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28               Desc
                        Main Document    Page 14 of 36
 Class        Impairment                               Treatment
                           apply to the Allowed Claims of HFS against the Non-Debtor
                           Restructured Loan Borrowers or any guarantors of the
                           Restructured HFS Loan.

                                   17.    Closing. The closing date of the transactions
                           concerning the Restructured HFS Loan documented pursuant to
                           the terms herein shall be the Effective Date of the Plan.

                                   18.     Subordinated Debt/Junior Liens.       Without prior
                           written consent from the Restructured Loan Agent (which may be
                           withheld in the Restructured Loan Agent's sole discretion), the
                           Restructured Loan Borrowers shall not be allowed to incur
                           subordinated debt, and, subject to certain permitted exceptions, the
                           Restructured Loan Borrowers shall not be allowed to encumber
                           any of the collateral for the Restructured HFS Loan with other
                           liens. Except only with respect to payments to "Electing Class 6
                           Claims" that are allowed as provided in the treatment of Class 6
                           Claims below, nothing in the Plan shall affect the subordination
                           agreements currently in place whereby certain other creditors of
                           the Debtors have subordinated their indebtedness and liens to
                           HFS, and such subordination agreements shall continue with
                           respect to the Restructured HFS Loan.

                                   19.     Appraisals.     The Restructured HFS Loan
                           Documents shall provide that the Restructured Loan Agent may
                           require new third party appraisals of each of the Facilities,
                           performed by a third party appraiser(s) acceptable to the
                           Restructured Loan Agent in its sole discretion, at such times as the
                           Restructured Loan Agent may direct, and the Restructured Loan
                           Borrowers shall cooperate fully to allow such appraisals to be
                           conducted. The Restructured Loan Borrowers shall be responsible
                           for payment of all costs of such appraisals, except that, so long as
                           no event of default has occurred, the Restructured Loan Borrowers
                           shall not be responsible for payment of more than one appraisal
                           per Facility in any 24 month period from and after the Effective
                           Date of the Plan. Notwithstanding the foregoing, the Restructured
                           Loan Borrowers shall be responsible for payment of all costs of all
                           appraisals conducted in connection with any request by the
                           Restructured Loan Borrowers to exercise an option to extend the
                           maturity of the Restructured HFS Loan.

                                  20.    Other Terms for Restructured HFS Loan. Except
                           as may be expressly stated herein, all other terms, conditions, and
                           requirements of the existing loan and security documents for the
                           Revolving Loan and Term Loan will remain in effect under the
                           Restructured HFS Loan. The Restructured HFS Loan Documents
                                        15

Case 3:16-bk-03296   Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28              Desc
                        Main Document    Page 15 of 36
 Class        Impairment                              Treatment
                           also will include such other or additional terms as HFS shall
                           require in its sole discretion.    Among other things, the
                           Restructured HFS Loan Documents will include the following:

                                 (i)      The Restructured Loan Borrowers shall maintain
                                          their existing cash management systems, with cash
                                          controls and deposit account control agreements
                                          similar to those required under the existing
                                          Revolving Loan Documents and Term Loan
                                          Documents, provided, however, that there shall not
                                          be any cash sweeps to the Restructured Loan Agent
                                          unless required by the Restructured Loan Agent
                                          after the occurrence of an event of default.
                                 (ii)     Without in any way limiting the Restructured Loan
                                          Borrowers' obligations to comply with all terms of
                                          the Restructured HFS Loan Documents from and
                                          after the Effective Date of the Plan, no events of
                                          default that have occurred under the existing
                                          Revolving Loan Documents and Term Loan
                                          Documents regarding periods prior to the Effective
                                          Date of the Plan shall be considered to be events of
                                          default under the Restructured HFS Loan
                                          Documents.
                                 (iii)    The minimum Fixed Charge Coverage Ratio
                                          (“FCCR”) shall be amended to be 1.20x under all
                                          circumstances.
                                 (iv)     The provisions in Article I of the existing credit
                                          agreements for the Revolving Loan and the Term
                                          Loan will be amended to reflect the Restructured
                                          HFS Loan structure.
                                 (v)      The Restructured Loan Documents will provide that
                                          the Restructured Loan Agent may require field
                                          examinations, audits and similar inspections (as
                                          provided in Section 4.9 of the existing credit
                                          agreement for the Term Loan), performed by parties
                                          acceptable to the Restructured Loan Agent in its
                                          sole discretion, at such times as the Restructured
                                          Loan Agent may direct, and the Restructured Loan
                                          Borrowers shall cooperate fully to allow such
                                          examinations and inspections to be conducted. The
                                          Restructured Loan Borrowers shall be responsible
                                          for payment of all costs of such examinations and
                                          inspections, except that, so long as no event of
                                          default has occurred, the Restructured Loan
                                          Borrowers shall not be responsible for payment of

                                         16

Case 3:16-bk-03296   Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28             Desc
                        Main Document    Page 16 of 36
 Class        Impairment                                Treatment
                                            more than one field examination per Facility in any
                                            12 month period from and after the Effective Date
                                            of the Plan.
                                  (vi)      The Restructured Loan Borrowers shall continue to
                                            provide to the Restructured Loan Agent borrowing
                                            base certificates for informational purposes.
                                  (vii)     The Restructured HFS Loan Documents shall not
                                            include provisions requiring a “Restructuring
                                            Advisor."
                                  (viii)    The Restructured HFS Loan Documents will
                                            provide that the Restructured Debtors' failure to
                                            perform or observe any term or covenant under the
                                            Plan, or any term or covenant of any agreement
                                            specifically adopted under the Plan (other than the
                                            Restructured HFS Loan Documents) is an additional
                                            event of default if such failure is not cured by the
                                            Restructured Loan Borrowers by the date that is
                                            thirty (30) days after written notice to the
                                            Restructured Loan Borrowers by the Restructured
                                            Loan Agent.
                                  (ix)      The Restructured HFS Loan Documents will
                                            provide that real estate tax payments for the
                                            Facilities operated by the Debtors as of the
                                            Effective Date of the Plan (not including the
                                            Whitehall Facility) that come due for tax year 2017
                                            will be paid by application of payments (including,
                                            without limitation, payments from sale proceeds)
                                            that HFS received from the Debtors during the
                                            Cases, up to a maximum amount of $485,000, with
                                            the remainder paid by the Restructured Loan
                                            Borrowers. (The Restructured Loan Borrowers also
                                            will be required to fund a reserve through monthly
                                            reserve payments for subsequent real estate taxes
                                            under the terms of the Restructured HFS Loan
                                            Documents.)

                                    21.    Guaranty of Madison Loan. The Madison Loan
                           Guaranty shall remain in full force and effect under this Plan, and
                           the obligations of Vanguard Healthcare, LLC under the Madison
                           Loan Guaranty, including, but not limited to, all claims owing to
                           HFS, are reaffirmed, shall continue to be obligations of
                           Reorganized Debtor Vanguard Healthcare, LLC, and shall not be
                           affected in any way by this Plan. Unless paid sooner, all
                           obligations owing under the Madison Loan Guaranty shall be due
                           and payable in full on the fifth anniversary of the Effective Date of

                                           17

Case 3:16-bk-03296   Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28               Desc
                        Main Document    Page 17 of 36
     Class          Impairment                               Treatment
                                 the Plan.

                                         22.     The treatment of HFS' Claims as stated in this
                                 Section 5.01 shall be the only treatment of HFS' Claims and liens
                                 under this Plan. As to HFS, such treatment (including the terms
                                 and conditions of the Restructured HFS Loan Documents) shall
                                 control over any inconsistent, additional, or different provisions of
                                 this Plan (and/or any documents referenced herein); and any
                                 inconsistent, additional, or different provisions of this Plan (and/or
                                 any documents referenced herein) shall be superseded and
                                 inapplicable with respect to the treatment of HFS' Claims.
                                 Without limiting the foregoing, the injunction provisions and other
                                 provisions stated in Sections 6.01, 6.08, 6.09, 8.02, 8.06, 8.07 and
                                 9.02 shall not apply to with respect to the claims and liens of HFS
                                 or limit in any way HFS' claims, rights and remedies under the
                                 Restructured HFS Loan Documents.



Class 2             Impaired             The interests of AmerisourceBergen in the accounts and
AmerisourceBergen                inventory of Elderscript that secure its Claim is junior to the
                                 interests of HFS in that same collateral, and thus
                                 AmerisourceBergen does not hold a Secured Claim pursuant to §
                                 506(a) and accordingly the Allowed Claim of AmerisourceBergen
                                 (for the portion that is not determined to be an Administrative
                                 Expense) is to be Allowed in the amount of $266,979.60 and paid
                                 in twelve monthly installments in the amount of $22,248.30
                                 pursuant to the Order Granting Motion to Assume Agreement with
                                 AmerisourceBergen Drug Corporation entered May 5, 2017
                                 (Docket No. 1471)

Class 3             Impaired             Allowed Claims in Class 3 shall be paid by each applicable
Department of                    Debtor that incurred the liability in an amount equal to 100% of
Health and Human                 the Allowed Claim payable on the fifth annual anniversary of the
Services and                     Effective Date of the Plan. The applicable Debtor(s) shall make
TennCare                         interim payments of interest only at the Interest Rate defined
                                 herein accruing from the Effective Date of the Plan with payments
                                 beginning on the later of (i) six (6) months following the Effective
                                 Date of the Plan, or (ii) the first day of the sixth full month
                                 following the entry of a final order allowing the Class 3 claim, and
                                 then semi-annually thereafter to maturity. Any catch up payments
                                 for interest incurred from the Effective Date of the Plan to the
                                 entry of a final order shall be evenly spread out over the semi-
                                 annual payments to the date that the full payment is due


                                               18

   Case 3:16-bk-03296     Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28                Desc
                             Main Document    Page 18 of 36
       Class       Impairment                                Treatment
                                       Only the specific Debtor(s) determined to be liable under a
                                final order allowing a Class 3 claim shall be liable for such
                                Allowed Claim, provided, to the extent needed to have sufficient
                                funds to make a required payment, Vanguard Healthcare, LLC,
                                shall advance funds from available cash flow to the extent
                                necessary to make the required payments to this Class.

Class 4            Impaired              Allowed Claims in Class 4 that are within the policy limits
Personal Injury                 of that certain insurance provided by BHC-LTC Insurance Ltd.
Claims                          with the Debtors in existence as of the Date of Filing shall be paid
                                in full by BHC-LTC Insurance Ltd. To the extent that an Allowed
                                Claim exceeds the policy limits, the amount of the Allowed Claim
                                that exceeds the policy limits will be paid by the Debtors in semi-
                                annual installments in the principal amount determined by a seven
                                (7) year amortization paid with interest accruing after the Effective
                                Date of the Plan at the Interest Rate defined herein with the first
                                installment beginning on the later of (i) six (6) months following
                                the Effective Date of the Plan, or (ii) the first day of the first full
                                month following the determination of the Allowed Claim, and
                                then semi-annually to maturity, which shall occur on the fifth
                                annual anniversary of the Effective Date of the Plan. All unpaid
                                principal and interest will be due and payable at maturity (i.e., on
                                the fifth annual anniversary of the Effective Date of the Plan).

                                        No distributions under this Plan shall be made on account
                                of an Allowed Claim that is payable by BHC-LTC Insurance Ltd.
                                until the Holder of such Allowed Claim has exhausted all
                                remedies with respect to such insurance policy. To the extent that
                                an Allowed Claim has been paid, the applicable portion of such
                                Allowed Claim may be expunged without an objection having to
                                be filed with the Court and without any further notice to or action,
                                order or approval of the Court.

Class 5            Impaired             Class 5 shall consist of all Unsecured Claims that are not
Unsecured Claims                otherwise included in another Class herein. The Reorganized
                                Debtors will make a distribution to Class 5 on the Effective Date
                                of the Plan in the amount equal to the lesser of 25% of Allowed
                                Class 5 Claims, or a Pro Rata share (based on the amount of Class
                                5 and Class 7 Claims that are Allowed Claims as of the Effective
                                Date of the Plan) of $1.7 million , provided the Allowed Claim of
                                BHC-LTC Insurance Ltd., (“BHC-LTC”) and any Unsecured
                                Claim that is not an Allowed Claim at the time of the Effective
                                Date of the Plan will not receive any payments from this
                                distribution. Additionally, the Allowed Claims within this Class 5
                                shall be paid in the amount equal to 100% percent of the
                                              19

    Case 3:16-bk-03296   Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28                 Desc
                            Main Document    Page 19 of 36
 Class        Impairment                               Treatment
                           remaining balance of the Allowed Claim in semi-annual
                           installments with the principal amount determined by a seven (7)
                           year amortization paid with interest accruing from the Effective
                           Date of the Plan at the Interest Rate defined herein. Level
                           principal and interest payments will be made over a period of five
                           (5) years with the first installment beginning on the later of (i) six
                           (6) months after the Effective Date of the Plan, or (ii) the next
                           regularly scheduled payment date for Allowed Class 5 Claims
                           following the determination of an Allowed Claim that has not
                           otherwise been Allowed as of the Effective Date of the Plan, and
                           then semi-annually to the end of the five (5) year payment period.
                           The first payment to be paid to any Allowed Claim under (ii)
                           above will include the amount that the Allowed Claim had missed
                           in prior payments. All unpaid principal and interest will be due
                           and payable at maturity (i.e., on the fifth annual anniversary of the
                           Effective Date of the Plan).
                                   The payment of Allowed Unsecured Claims hereunder will
                           be allocated to each applicable Debtor that incurred the liability,
                           provided, to the extent needed to have sufficient funds to make a
                           required payment, Vanguard Healthcare, LLC shall advance funds
                           from available cash flow to the extent necessary to make the
                           required payments to this Class.

                                   Upon the sale of Whitehall, the Administrative Expenses
                           and Priority Claims in the Whitehall case, will be paid from the
                           net proceeds remaining after the closing of the sale and the
                           distribution of the Release payment (at least $21,000,000) to HFS
                           and then paid to Allowed Unsecured Claims in the Whitehall case.
                           To the extent there remain unpaid claims after this distribution is
                           made, such Allowed Claims against the Debtor Whitehall Opco,
                           LLC will be paid as provided within this Class 5 by Vanguard
                           Healthcare, LLC.
                                   Notwithstanding the previous paragraph, if the aggregate of
                           Allowed Claims in Class 5 and/or 7 held by any Creditor for any
                           of the Debtors is an amount equal to $500 or less or the aggregate
                           of such Allowed Claims is an amount greater than $500 and the
                           Creditor has elected to reduce the aggregate of its Allowed Claims
                           to the amount of $500, then such Allowed Claims shall be paid in
                           full, without interest, on or before six (6) months after the
                           Effective Date of the Plan.       Although the election option was
                           originally provided with the Ballots, creditors may make an
                           election by sending in the election form to counsel for the Debtors
                           so that it is received on or before twenty-eight (28) days after
                           Confirmation.


                                         20

Case 3:16-bk-03296   Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28               Desc
                        Main Document    Page 20 of 36
Class 6:             Impaired            This Class shall consist of the following Claims against
Claims                           Debtor Vanguard Healthcare, LLC, which are subordinated to all
Subordinated to                  of the Class 1 Claims held by HFS:
Healthcare
Financial Services                      1. The Claim of CCP Mustang in the amount allowed by
(“HFS”)                          Court order entered May 30, 2017 (Docket No. 1574) in the
                                 amount of $4,995,000.00.

                                         2      The Claim of Kirk Hebert in the amount of
                                 $1,856,533.

                                        3       The Claim of Toyo Jitsugyo in the amount of
                                 $702,235.

                                 To the extent the Claims in this Class 6 are Allowed Claims, the
                                 holder shall have the option to be paid in one of the following
                                 ways,:

                                         (a)     The Allowed Class 6 Claims will be paid in the
                                        amount of 100% of the Allowed Claim plus interest
                                        accrued from the Effective Date of the Plan at the Interest
                                        Rate defined herein, provided that except only for certain
                                        interest payments on the Allowed Claim of Kirk Hebert to
                                        the extent provided in this subsection (a), no payments will
                                        be made on the Allowed Claims in Class 6 until all Class 1
                                        Allowed Claims are paid in full, including amounts owing
                                        under the Madison Loan Guaranty (referred to in
                                        Paragraph 21 of Class 1 above). Notwithstanding the
                                        continuation of all subordination agreements between Kirk
                                        Hebert and HFS, HFS agrees that as long as no event of
                                        default has occurred and is continuing under the
                                        Restructured HFS Loan Documents, Vanguard Healthcare
                                        LLC make interest only payments on the Allowed Claim of
                                        Kirk Hebert accruing from the Effective Date of the Plan at
                                        the Interest Rate defined herein. Such interest payments
                                        will be made beginning six (6) months after the Effective
                                        Date of the Plan and continuing thereafter semi-annually
                                        until the Allowed Claim held by Kirk Hebert is paid in full.
                                        No interest payments shall be made at any time an event of
                                        default has occurred and is continuing under the
                                        Restructured HFS Loan Documents.            If the Class 1
                                        Allowed Claims are paid in full prior to the fifth
                                        anniversary of the Effective Date of the Plan, Vanguard
                                        Healthcare LLC shall promptly thereafter pay the Allowed
                                        Claims in Class 6 all interest then accrued to date and shall
                                        begin to make semi-annual installments of interest

                                               21

    Case 3:16-bk-03296     Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28              Desc
                              Main Document    Page 21 of 36
                                 beginning as of the date that the Class 1 Allowed Claims
                                 are paid in full. All unpaid principal and interest will be
                                 due and payable on the fifth anniversary of the Effective
                                 Date of the Plan.

                                  (b)     Alternatively, each Allowed Claim in Class 6 shall
                                 have the option to reduce its Allowed Claim to an amount
                                 equal to forty percent (40%) of the Allowed Claim, which
                                 election shall be made by written notice to the Debtors and
                                 bankruptcy counsel delivered on or before thirty (30) days
                                 prior to the Effective Date of the Plan (“Electing Class 6
                                 Claim”).       (CCP Mustang has elected this option)
                                 Notwithstanding is the continuation of all subordination
                                 agreements between the respective Class 6 creditors,
                                 including CCP Mustang and HFS, HFS agrees that, as long
                                 as no event of default has occurred and is continuing under
                                 the Restructured HFS Loan Documents, each Electing
                                 Class 6 Claim shall be paid in semi-annual installments
                                 with the principal amount determined by a seven (7) year
                                 amortization paid with interest accruing from the Effective
                                 Date of the Plan at the Interest Rate defined herein. No
                                 payments shall be made by Debtor Vanguard Healthcare,
                                 LLC at any time an event of default has occurred and is
                                 continuing under the Restructured HFS Loan Documents.
                                 The remaining amount of the Allowed Claim will be
                                 discharged effective on the Effective Date of the Plan and
                                 any obligation of William D. Orand or Jere Ervin related to
                                 the discharged amount for which any Debtor has an
                                 indemnity obligation (whether contingent or otherwise) to
                                 those officers and/or members will be released and
                                 discharged.. Level principal and interest payments on the
                                 Electing Class 6 Claim will be made over a period of five
                                 (5) years with the first installment beginning on the later of
                                 (i) six (6) months after the Effective Date of the Plan, and
                                 then semi-annually to the end of the five (5) year payment
                                 period, or (ii) the next regularly scheduled payment date
                                 for Electing Class 6 Claims following the determination of
                                 an Allowed Claim that has not otherwise been Allowed as
                                 of the Effective Date of the Plan. All unpaid principal and
                                 interest owing on the Electing Class 6 Claims will be due
                                 and payable at maturity (i.e., on the fifth annual
                                 anniversary of the Effective Date of the Plan).
                                         In all respects, (i) the respective subordination
                                 agreements between the respective Class 6 Creditors and
                                 HFS shall remain in full force and effect and applicable
                                 with respect to the Allowed Class 6 Claims and the
                                 Allowed Claims in Class 1, and (ii) no payments or
                                       22

Case 3:16-bk-03296   Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28             Desc
                        Main Document    Page 22 of 36
                                        distributions of any kind shall be made at any time that an
                                        event of default has occurred and is continuing under the
                                        Restructured HFS Loan Documents.

Class 7—             Impaired           This Class shall consist of the Claims for which liability is
Unsecured Claims                 limited to one or more of the following Debtors: Vanguard
Against Vanguard                 Healthcare, LLC, Vanguard Healthcare Services, LLC or
Healthcare, LLC,                 Vanguard Financial Services, LLC (collectively referred to herein
Vanguard                         as the “Vanguard Parent Entities”) other than the subordinated
Healthcare                       claims in Class 6.
Services, LLC and
Vanguard Financial                       The Vanguard Parent Entities will make a distribution to
Services, LLC                    Class 7 on the Effective Date of the Plan in the amount equal to
                                 the lesser of 25% of Allowed Class 7 Claims or a Pro Rata share
                                 (based on the amount Class 5 and Class 7 Claims that are Allowed
                                 Claims as of the Effective Date of the Plan) of $1.7 million,
                                 provided the Allowed Claim of BHC-LTC Insurance Ltd., (“BHC-
                                 LTC”) and any Unsecured Claim that is not an Allowed Claim at
                                 the time of the Effective Date of the Plan will not receive any
                                 payments from this distribution. Additionally, the Allowed Claims
                                 within this Class 7 shall be paid in the amount equal to 100%
                                 percent of the remaining balance of the Allowed Claim in semi-
                                 annual installments with the principal amount determined by a
                                 seven (7) year amortization paid with interest accruing from the
                                 Effective Date of the Plan at the Interest Rate defined herein.
                                 Level principal and interest payments will be made over a period
                                 of five (5) years with the first installment beginning on the later of
                                 (i) six (6) months after the Effective Date of the Plan, or (ii) the
                                 next regularly scheduled payment date for Allowed Class 7 Claims
                                 following the determination of an Allowed Claim that has not
                                 otherwise been Allowed as of the Effective Date of the Plan, and
                                 then semi-annually to the end of the five (5) year payment period.
                                 The first payment to be paid to any Allowed Claim under (ii)
                                 above will include the amount that the Allowed Claim had missed
                                 in prior payments. All unpaid principal and interest will be due
                                 and payable at maturity (i.e., on the fifth annual anniversary of the
                                 Effective Date of the Plan).
                                         In making semi-annual payments to Class 7, the
                                 Reorganized Debtors agree that payments to the Allowed Class 5
                                 Claim of the BHC-LTC will be deferred until such time that there
                                 is sufficient cash to make the required payment if the aggregate
                                 available cash with the Reorganized Debtors is insufficient to
                                 make the Class 7 required payment.
                                         The payment of Allowed Unsecured Claims hereunder will
                                 be allocated to each applicable Debtor that incurred the liability,
                                 provided, to the extent needed to have sufficient funds to make a

                                               23

    Case 3:16-bk-03296     Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28               Desc
                              Main Document    Page 23 of 36
                                      required payment, Vanguard Healthcare, LLC shall advance funds
                                      from available cash flow to the extent necessary to make the
                                      required payments to this Class
                                              Notwithstanding the previous paragraphs, if the aggregate
                                      of Allowed Claims in Class 5 and/or 7 held by any Creditor for
                                      any of the Vanguard Parent Entities is an amount equal to $500 or
                                      less or the aggregate of such Allowed Claims is an amount greater
                                      than $500 and the Creditor has elected to reduce the aggregate of
                                      its Allowed Class 7 Claims to the amount of $500, then such
                                      Allowed Claims shall be paid in full, without interest, on or before
                                      six (6) months after the Effective Date of the Plan. Although the
                                      election option was originally provided with the Ballots, creditors
                                      may make an election by sending in the election form to counsel
                                      for the Debtors so that it is received on or before twenty-eight (28)
                                      days after Confirmation.


Class 8 –Interests    Not                   The Interests in the respective Debtors will continue in the
in the Debtor         Impaired        same amount as in existence as of the Date of Filing.




                                         ARTICLE VI
                                 PAYMENT OF ALLOWED CLAIMS

            6.01 Distribution on Allowed Claims. Distributions hereunder will be made only on
   Allowed Claims. If an objection to a Claim or portion thereof is filed as set forth in this Plan, no
   payment or distribution provided under this Plan shall be made on account of such Claim or
   portion thereof unless and until such disputed claim becomes an Allowed Claim. With respect
   only to Allowed Claims in Classes 2 through 7, inclusive, no distributions on an Allowed Claims
   in a Class shall be made in excess of the amount provided for under this Plan or on an earlier
   schedule than provided under the Plan unless all creditors holding Allowed Claims in all such
   Classes receive a Pro Rata share of such excess payment or such payments are approved by the
   Court.

            6.02 Settlement of Disputed Claims. The Reorganized Debtors will have the power
   and authority to settle and compromise all disputed Claims applicable to any of the Reorganized
   Debtors without court approval if the dispute has not been resolved prior to the Effective Date of
   the Plan..

           6.03 Adjustment to Claims Without Objection. After the Effective Date of the Plan,
   any Claim or Interest that has been paid or satisfied, or any Claim or Interest that has been
   amended or superseded, cancelled or otherwise expunged (including pursuant to this Plan), may
   be adjusted or deemed expunged by the Debtor without a Claim objection having to be filed and
   without any further notice to or action, order or approval of the Court.

                                                   24

    Case 3:16-bk-03296       Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28                  Desc
                                Main Document    Page 24 of 36
         6.04 Amendments to Claims. On or after the Effective Date of the Plan, a Claim may
not be filed or amended without the prior authorization of the Court or the applicable Debtor, (it
being understood that this provision does not prevent Class 3 from amending its Claims without
prior authorization of the Court or the applicable Debtor during the course of the litigation
pending in the District Court). Absent such authorization, any new or amended Claim filed shall
be deemed disallowed in full and expunged without any further action.

        6.05 Distributions After Allowance. To the extent that a disputed Claim ultimately
becomes an Allowed Claim, distributions shall be made to the holder of such Allowed Claim in
accordance with the provisions of this Plan..

          6.06 Delivery of Plan Distributions. All distributions under the Plan on account of
any Allowed Claims shall be made at the address of the holder of such Allowed Claim as set
forth in the Debtors’ records as of the Effective Date of the Plan, including without limitations
the Schedules, unless said holder shall have filed a proof of claim, in which case the address set
forth in the proof of claim shall control. The foregoing notwithstanding, the Debtors shall honor
any holder’s written change of address if received at least fifteen (15) days prior to a given
distribution date. In the event that any distribution to any holder is returned as undeliverable, the
Debtor shall use reasonable efforts to determine the current address of such holder, but no
distribution to such holder shall be made unless and until the Debtor has determined the then-
current address of such holder, at which time such distribution shall be made to such holder
without interest; provided, however, that any undeliverable or unclaimed distribution that
remains unclaimed after ninety (90) days following such distribution shall be reallocated by the
applicable Debtor for re-distribution for the benefit of all other holders of Allowed Claims in
accordance with the Plan.

         6.07 Discharge of Debts and Discharge Injunction. Except as otherwise provided in
the Plan or the Confirmation Order, on the Effective Date of the Plan, (a) the Debtors and
their property are discharged and released to the fulles t extent permitted by § 1141 of the
Bankruptcy Code from all Claims and rights that arose before the Effective Date of the
Plan, including all debts, obligations, demands, and liabilities, and all debts of the kind
specified in §§ 502(g), 502(h), or 502(i) of the Bankruptcy Code, regardless whether (i) a
proof of Claim based on such debt is filed or deemed filed, (ii) a Claim based on such debt
is allowed pursuant to § 502, or (iii) the holder of a Claim based on such debt has or has not
accepted the Plan; (b) any judgment underlying a Claim discharged hereunder is void; and
(c) provided that there has been no default under the Plan, all persons are precluded from
asserting against the Debtors or their property, whether directly or on behalf of the
Debtors, any Claims discharged or to be paid hereunder based on any act or omission,
transaction, or other activity of any kind or nature that occurred prior to the Effective
Date of the Plan.

               Except as otherwise provided in the Plan or the Confirmation Order, and
provided that there has been no default under the Plan, on and after the Effective Date of
the Plan, all persons who have held, currently hold, or may hold a Claim that is discharged
as provided in the preceding paragraph or is otherwise an Allowed Claim to be paid under
the Plan, are permanently and completely enjoined from taking any of the following actions
on account of any such Claim (the “Permanent Injunction”): (a) commencing, conducting,

                                                 25

Case 3:16-bk-03296         Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28                 Desc
                              Main Document    Page 25 of 36
or continuing in any manner any suit, action, or other proce eding of any kind against or
affecting the Debtors, their properties, or their obligations that is inconsistent with the Plan
or the Confirmation Order; (b) attaching, collecting, enforcing, levying, or otherwise
recovering in any manner any award, decree, judgment, or order against or affecting the
Debtors, their property, or their obligations, other than as expressly permitted under the
Plan; (c) creating, perfecting, or otherwise enforcing in any manner any lien or
encumbrance of any kind against or affe cting property of the Debtors, other than as
expressly permitted under the Plan; (d) asserting any right of recoupment, setoff, or
subrogation of any kind against any obligation due to the Debtors with respect to any such
discharged Claim, except as otherwise permitted by § 553 (provided, however, that this
provision shall not increase or limit any recoupment right or any right to setoff mutual
post-petition debts that is otherwise enforceable under applicable law); (e) acting or
proceeding in any manner, in any place whatsoever, that does not comply with or is
inconsistent with the provisions of the Plan, the Confirmation Order, or the discharge
provisions of § 1141; and (f) taking any actions to interfere with the implementation or
consummation of the Plan. The Debtors and any other person injured by any willful
violation of the Permanent Injunction shall recover actual damages, including costs,
expenses, and attorneys’ fees, and, in appropriate circumstances, may recover punitive
damages, from the willful violator.

        6.08 Voiding of Liens. Except as otherwise provided under the Plan, pursuant to
§506(d), Confirmation will void all liens in excess of a Secured Claim.

          6.09 Exemption from Certain Taxes and Fees. Pursuant to § 1146(a) of the Code, any
transfers of property pursuant hereto shall not be subject to any stamp tax or other similar tax or
governmental assessment in the United States, and the Confirmation Order shall direct and be
deemed to direct the appropriate state or local governmental officials or agents to forgo the
collection of any such tax or governmental assessment and to accept for filing and recordation
instruments or other documents pursuant to such transfers of property without the payment of
any such tax or governmental assessment. Such exemption specifically applies, without
limitation, to (1) the creation or amendment of any mortgage, deed of trust, lien or other security
interest; (2) the making or assignment of any lease or sublease; (3) any restructuring transaction
authorized by this Plan; or (4) the making or delivery of any deed or other instrument of transfer
under, in furtherance of or in connection with this Plan, including: (a) any merger agreements;
(b) agreements of consolidation, restructuring, disposition, liquidation or dissolution; (c) deeds;
(d) bills of sale; or (e) assignments executed in connection with any transaction occurring under
this Plan.

         6.10 Indefeasibility of Distributions.        All Distributions provided for under the Plan
shall be indefeasible.

         6.11 Limitation on Distribution to BHC-LTC. In making required payments to any
class of Allowed Claims under the Plan, the Reorganized Debtors agree that payments to the
Allowed Claims of BHC-LTC in Classes 5 or 7 will be deferred until such time that there is
sufficient cash to make the required payments to creditors under the Plan if the aggregate
available cash with the Reorganized Debtors is insufficient to make the required payment, and if


                                                  26

Case 3:16-bk-03296        Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28                  Desc
                             Main Document    Page 26 of 36
there is a payment default under the Plan, no payments will be made to BHC-LTC on its
Allowed Claims in Classes 5 or 7 until that default is cured.



                           ARTICLE VII
     PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         7.01 Assumed Executory Contracts and Unexpired Leases. Unless otherwise subject
to a motion to reject filed prior to the Effective Date of the Plan or court order rejecting a
contract or lease which has been entered prior to the Effective Date of the Plan, each
Reorganized Debtor assumes all existing executory contracts and/or unexpired leases executed
by that Debtor prior to the Date of Filing, which assumption shall be effective as of the Effective
Date of the Plan. A listing of executory contracts and unexpired leases known to exist as of the
Date of Filing is attached as Exhibit C to the Disclosure Statement. All defaults under executory
contracts and unexpired leases that remain in existence as of the Effective Date of the Plan shall
be deemed cured unless otherwise provided herein or by Court order.

                Specifically included, but not limited to, in the assumption of executory contracts
will be (i) the existing provider agreements with the Debtors and the Centers for Medicare &
Medicaid Services and the relevant state Medicaid authorities further described in Docket No.
393 and assumed by Order entered September 12, 2016 (Docket No. 487), (ii) the insurance
policies with BHC-LTC Insurance Ltd. further described in Docket No. 244 and in Article
II.D.ix in the Disclosure Statement, (iii) the agreements with Evergreen Rehabilitation LLC
(“Evergreen”) further described in Docket No. 174 and in Article II.D.ix and Exhibit C in the
Disclosure Statement (except for the agreement related to the Whitehall Facility), (iv) all real
property leases further described on Exhibit D-1 and D-2 attached to the Disclosure Statement
and the Debtors’ Omnibus Motion to Assume Unexpired Facilities Lease filed November 30,
2016 (Docket No. 670), including leases of office space for the Debtors’ management, (v) all
disbursement agreements with SYSCO related entities further described in the Debtors’ Motion
to Approve Settlement filed January 4, 2017 (Docket No. 912); (vi) the agreement by and
between AmerisourceBergen and Elderscript Services as further described in the Debtors'
Motion to Assume AmerisourceBergen Agreement and Order Granting Motion to Assume
Agreement with AmerisourceBergen Drug Corporation entered May 5, 2017 (Docket No. 1471),
and (vii) any other insurance policies for coverage to any of the Debtors and all agreements,
documents or instruments relating thereto that have not otherwise expired or lapsed as of the
Date of Filing, (viii) any equipment leases for copiers or other operating equipment, and (ix) all
management agreements associated with each of the Debtors’ Facilities.

               Regarding the Evergreen contract agreements with the Debtors: (i) on the
Effective Date, in accordance with this Section 7.01, the Debtors (other than Whitehall OpCo,
LLC) will assume their agreements with Evergreen, and will cure their defaults under their
respective agreements by the payment in cash of all pre-petition unpaid amounts owing to
Evergreen in six equal monthly installments totaling the aggregate of the amounts owed by such
Debtors for services provided to the Debtors as set forth in Exhibit C to the Disclosure Statement
until paid in full, which aggregate amount shall be the Allowed Claim for such Evergreen
contracts; and (ii) on the Effective Date, upon the closing of the sale of the Whitehall Facility in
accordance with the motion currently pending before to the Court (Docket No. 1873), in
                                                27

Case 3:16-bk-03296         Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28                Desc
                              Main Document    Page 27 of 36
accordance with this Section 7.01, Whitehall OpCo, LLC will reject its agreement with
Evergreen and Evergreen shall have an Allowed Claim in Class 5 against Whitehall OpCo, LLC
with respect to same in the respective amount set forth in Exhibit C to the Disclosure Statement,
which shall be entitled to the treatment set forth herein for Class 5 creditors.

                Regarding the BHC-LTC Insurance Ltd. policies, the Debtors will cure the
amount due for policy year 2015 in the amount of $1,115,283 (excluding the allocated amounts
owed by the sold Facilities) by payments in an amount equal to $33,176.25 per month to be
applied until all past due amounts are paid in full. The premiums for all other policy years are
paid in full.

             Regarding the AmerisourceBergen contract, Elderscript Services will cure all past
due amounts under such contract as set forth in Article V above.

               Regarding all other contracts, the cure amount will be either (i) the amount listed
by the Debtors on Exhibit C to the Disclosure Statement, (ii) the amount determined by the Court
upon any objection to the Exhibit C to the Disclosure Statement filed by a creditor on or before
the Effective Date of the Plan, (iii) the amount stipulated by the Debtors and the contract party,
with consent of the Committee, or (iv) the amount determined by Court order.

                 Regarding unexpired real property leases, certain Debtors have real property
leases listed on Exhibit D-1, attached to the Disclosure Statement. The leases associated with a
Facility are further described in the discussion regarding that Facility in Section II.A in the
Debtors’ Disclosure Statement. The Debtors have negotiated new terms with certain third party
landlords, and as of the Effective Date of the Plan will assume seven existing leases under the
amended terms to be provided a least one week prior to the Confirmation Hearing. (The
assumption of these agreement will not limit the specific rights expressly reserved in Section
8.05). Additionally Vanguard Healthcare leases certain office space for its operations and four
other Debtors lease the real property where their facility is located. These leases are current and
no cure payment is required to assume those leases. A further description of all of these leases is
provided in the Debtors’ Omnibus Motion to Assume Unexpired Facilities Leases filed
November 30, 2016 (Docket No. 670).

                    Regarding any other insurance policies, including all insurance policies (together
with all agreements, documents or instruments relating thereto, the “Insurance Contracts”) issued
to or providing coverage to any of the Debtors at any time, including those Insurance Contracts
issued by ACE American Insurance Company, Westchester Surplus Lines Insurance Company,
Federal Insurance Company, and Bankers Standard Insurance Company (together with each of
their affiliates and successors, the “Chubb Companies”), all terms, conditions, rights, claims,
liabilities, obligations, defenses, limitations and exclusions set forth in, or arising pursuant to the
applicable Insurance Contracts shall survive and shall not be amended, modified, waived,
released, discharged or impaired in any respect under the Plan, the Confirmation Order, or any
document related thereto (including without limitation, any provision that purports to be
preemptory or supervening, or grants an injunction or release), and shall remain in full force and
effect and subject to applicable non-bankruptcy law, and the Reorganized Debtor shall be liable
for all obligations thereunder regardless of when they arise and of which Debtor(s) the
underlying Claim relates to without the need or requirement of any insurer including the Chubb
Companies to file a proof of claim or motion for payment or allowance of any administrative
                                                  28

 Case 3:16-bk-03296        Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28                   Desc
                              Main Document    Page 28 of 36
expense pursuant to § 503 of the Bankruptcy Code or other cure claim or objection to cure
amount.



                                 ARTICLE VIII
                    MEANS FOR IMPLEMENTATION OF THE PLAN

        8.01 Continuation of Debtor’s Operations. Each Reorganized Debtor will take
possession of its Property pursuant to § 1108 and will continue in existence without change to its
corporate structure and management.

         8.02 Transfer of Assets. As of the Effective Date of the Plan and except as otherwise
provided herein, all Property of each Debtor, including the Causes of Action, will be transferred
to the applicable Reorganized Debtor free and clear of all claims.

         8.03 Authority to Sell Assets. After the Effective Date of the Plan, the Reorganized
Debtors may sell any Facility or asset or incur any debt without Court approval even though such
sale or obligation is not incurred in the ordinary course of business, provided that, with respect to
the sale of a Facility (i) the Reorganized Debtors are able to satisfy the conditions for obtaining a
release of the Class 1 Secured Claim as provided herein in Section 5.01, and (ii) if, at the time of
the sale closing, there exists any event of default in the Plan payments to Allowed Claims held
by Class 5 and Class 7 Creditors, the sale shall not close sooner than forty-five (45) days after
the Reorganized Debtors provide written notice of the proposed sale and the anticipated use of
proceeds therefrom to any such Creditors that have requested written or electronic notice as
provided in Section 8.05.

          8.04 Management of Reorganized Debtors. The Reorganized Debtors will continue to
be managed by Vanguard Healthcare Services, LLC with financial and employee benefit services
provided by Vanguard Financial Services, LLC and Vanguard Healthcare Employee Benefits
Plan, LLC. William D. Orand will continue to be the Chief Executive Officer of Vanguard
Healthcare, LLC, and John T. Fick will continue to be the Chief Financial Officer under the
same terms existing at the Date of Filing. The salary and benefits for Orand will not increase
until the Allowed Claims in Classes 5 and 7 are paid in full. Additionally, equity holders will not
receive any direct or indirect distributions on Vanguard Healthcare, LLC or BHC-LTC
membership interests until all Claims in Classes 5 and 7 are either paid in full or disallowed,
provided distributions to pay actual tax liabilities of the members caused by their ownership
interest in the Debtors may be made as recommended by the Debtors’ tax accountants..

        8.05      Unsecured Creditors’ Committee; Certain Reserved Rights. Upon the Effective
Date of the Plan, the Committee will terminate as to all of the Cases, provided the Committee
will remain in effect for the Vanguard of Crestview and Vanguard of Memphis Chapter 11 cases
until a liquidation plan is confirmed in those cases and the membership of the Committee may
change as appropriate and approved by the U.S. Trustee to include creditors of those Debtors.

        After the Effective Date of the Plan and upon receipt of a written or electronic request,
the Reorganized Debtors shall provide periodic financial reports and any notices of default to any
creditor holding an Allowed Claim to be paid under the Plan
                                                 29

Case 3:16-bk-03296         Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28                 Desc
                              Main Document    Page 29 of 36
         No party shall have the right to contest or challenge the nature or validity of any of the
Facility leases that are assumed in accordance with this Plan, except only as stated in this Section
8.05. During any period in which there is an uncured event of a default in the Plan payments with
respect to Allowed Claims held by holder of Unsecured Claims, and if during that period (i) a
sale of a Facility by a Reorganized Debtor that has been approved by HFS has closed, and (ii) the
Restructured Loan Agent, on behalf of the Restructured Loan Lender, has received a cash release
price at closing in an amount agreed to by the Restructured Loan Agent, then any holder of an
Allowed Claim in Class 5 or Class 7 may contest or challenge the nature or validity of the
applicable Facility lease assumed pursuant to this Plan solely as necessary to claim that excess
sale proceeds from that Facility should be paid to holders of Unsecured Claims rather than to the
applicable purported landlord of such Facility (with any such contest or challenge having no
effect on the remaining Facility leases).

       In all events, whether in any re-opened Cases or otherwise, the Reorganized Debtors shall
not seek (or support any other person in seeking) to change, limit or modify the treatment of the
Class 1 Claims held by HFS, the terms of the Restructured HFS Loan Documents (other than
with the prior written consent of HFS), or HFS's rights, powers, and remedies under the
Restructured HFS Loan Documents or the Restructured HFS Loan., including, but not limited to,
any request for any stay or injunction on the exercise of HFS's rights and remedies.

          8.06 Direction to Parties. From and after the Effective Date of the Plan, the Debtors
may apply to the Court for an order directing any necessary party to execute or deliver or to join
in the execution or delivery of any instrument required to effect a transfer of property
contemplated by or necessary to effectuate this Plan, and to perform any other act, including the
satisfaction of any lien, that is necessary for the consummation of this Plan, pursuant to §
1142(b) of the Code.

         8.07 Default Under Plan. The Confirmation shall effect a cure of any existing default
under a Debt, and except as provided otherwise under the Plan regarding the treatment of a
specific Class hereunder, an event of default as to any Claim after Confirmation shall exist (i) as
to any holder of a Claim in Classes 2, 3, 4, 5, 6 or 7 only if the Reorganized Debtor fails to make
monetary payment when due under the Plan to an Allowed Claim within that Class within thirty
(30) days of the date that payment is due, and (ii) as to Class 1, only upon an Event of Default
specified for Class 1.

       8.08 Notice. Unless otherwise directed by any party in writing, notice of default shall
be sufficient on the date of delivery by email or place of business as follows:


                             Vanguard Healthcare LLC
                             Attn: William D. Orand
                             Six Cadillac Dr., Suite 310
                             Brentwood, TN 37027
                             borand@vanguardhc.com

                             With a copy to:

                             William L. Norton III
                                                30

Case 3:16-bk-03296        Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28                 Desc
                             Main Document    Page 30 of 36
                           Bradley
                           1600 Division St., Suite 700
                           Nashville, TN 37203
                           bnorton@bradley.com


                           John A. Harris
                           Quarles & Brady LLP
                           Two North Central Ave.
                           Phoenix, AZ 85004-2391
                           john.harris@quarles.com


                           Glenn B. Rose
                           Paul G. Jennings
                           Bass Berry & Sims
                           150 Third Ave. South, Suite 2800
                           Nashville, TN 37201
                           grose@bassberry.com
                           pjennings@bassberry.com


                                ARTICLE IX
                   EXCULPATION AND INJUNCTION PROVISIONS

        9.01 Exculpation. Except as otherwise specifically provided in this Plan, the
Debtors and their officers, members, employees , professionals and directors, and
Committee members and professionals employed by the Debtors or Committee are hereby
released and exculpated from any claim or liability for any claim related to any act or
omission derived from, based upon, related to or arising from the Debtors ’ in or out-of-
court restructuring efforts, the Case s, the liquidation of asse ts, formulation, preparation,
dissemination, negotiation, filing, confirmation, approval, implementation or
administration of the Plan, the Disclosure Statement, the property to be distributed under
this Plan, or any contract, instrument, release or other agreement or document created or
entered into in connection with the Plan, .except for gross negligence or willful misconduct.
The Debtors (and respective affiliates, agents, directors, officers, employees, advisors and
attorneys) have participated in compliance with the applicable provisions of the
Bankruptcy Code with regard to the solicitation and distributions pursuant to this Plan
and, therefore, are not, and on account of such distributions shall not be, liable at any time
for the violation of any applicable law, rule or regulation governing the solicitation of
acceptances or rejections of this Plan or such distributions made pursuant to this Plan.

        9.02 Injunction. Provided that there is no default under the Plan and except to
the extent that stay relief has been granted by Court order entered prior to the Effective
Date of the Plan, each holder of a Claim shall be temporarily precluded from asserting
against any of the Reorganized Debtors, the Non-Debtor Borrowers, each of their
respective officers, dire ctors, members, successors and assigns or any insurance company
that has insured such Claim or any insurance policy alleged to cover such Claim, and each
                                             31

Case 3:16-bk-03296       Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28             Desc
                            Main Document    Page 31 of 36
of their assets and properties , any claims or interests based upon any document,
instrument, guaranty, or any act or omission, transaction or other activity of any kind or
nature that relates to a Claim to be paid under the Plan until either there is a default under
the Plan or the Allowed Claim is paid in full pursuant to the terms of the Plan, provided
however, that nothing herein shall operate as an injunction or stay of any action, lawsuit,
or effort (i) to enforce or collect upon any cause of action or liability against the
Reorganized Debtors that arose after the Effective Date of the Plan, or (ii) to pursue a non-
guaranty claim against a non-Debtor for a cause of action that is not based on a guaranty
of a Claim being paid under the Plan. For the avoidance of doubt, the pending actions
filed by the United States and the State of Tennessee in district court (Case No. 3:16-cv-
02380) and the pending actions against William D. Orand and Jere Ervin filed by CCP
Mustang shall not be enjoined.

        9.03 Term of Injunctions or Stays. Unless otherwise provided in this Plan or in
the Confirmation Order, all injunctions or stays in effect in the Case s pursuant to §§ 105 or
362 of the Code or any order of the Court in effect on Confirmation (excluding any
injunctions or stays contained in this Plan or the Confirmation Order), shall remain in full
force and effect until the Effective Date of the Plan. All injunctions or stays contained in
this Plan or the Confirmation Order shall remain in full force and effect in accordance
with their terms.

                                     ARTICLE X
                                 GENERAL PROVISIONS

          10.01 Withdrawal of Plan. At the option of any Debtor, this Plan may be withdrawn as
it pertains to that Debtor at any time prior to Confirmation. Such option shall be exercised by
filing with the Court a notice of withdrawal and mailing a copy of such notice to all creditors,
equity security holders and persons specially requesting all notices in this Case.

         10.02 Retention of Claims. Pursuant to § 1123(b)(3)(B) of the Code, each Reorganized
Debtor shall retain each and every claim, demand or Causes of Action whatsoever which the
Debtor may have had power to assert immediately prior to Confirmation, except for avoidance
actions under Chapter 5 of the Code, which actions shall not be pursued by any Debtor or other
party-in-interest. To the extent permitted by applicable law, these actions may be pursued by
the Reorganized Debtor after Confirmation and may be commenced or continued in any
appropriate court or tribunal for the enforcement of same.

         10.03 Modification of the Plan.           The Debtors may propose amendments or
modifications of this Plan at any time prior to Confirmation with leave of the Court. After
Confirmation, the Debtors, with approval of the Court, and so long as it does not materially or
adversely affect the interests of creditors, may remedy any defect or omission, or reconcile any
inconsistencies in the Plan or in the order of confirmation in such a manner as may be necessary
to carry out the purposes and effect of this Plan. The foregoing provisions of this paragraph do
not limit the ability of any party to modify the Plan under § 1127 and applicable rules.

        10.04 Closing of Case. As of the Effective Date of the Plan and the commencement of
payments pursuant to this Plan, these Chapter 11 estates will be deemed to be fully administered
and the Debtors may close each Case upon the filing of a final accounting and a motion for a
                                              32

Case 3:16-bk-03296       Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28               Desc
                            Main Document    Page 32 of 36
final decree as required under Bankruptcy Rule 3022. Notwithstanding the closing of the Cases
and the entry of a final decree, the Debtors may reopen any of the Cases to resolve a matter for
which jurisdiction of the Court is reserved hereunder. No additional fees shall be due to reopen
any of the Cases based upon an alleged violation of the terms of the discharge under § 524 of the
Bankruptcy Code or for any other reasons that such fees are waived under the Bankruptcy
Miscellaneous Fee Schedule promulgated by the Judicial Conference of the United States
effective December 1, 2016. The Debtors reserve the right to request that the Court waive or
defer fees under appropriate circumstances.

          10.05 Continuing Jurisdiction of the Court. Notwithstanding the entry of a final
decree, the Court shall retain jurisdiction to the extent allowed by law in the implementation of
the Plan and not inconsistent with prior orders entered during this case, which shall include
jurisdiction over the following matters:

               (a) Hear and determine matters concerning state, local and federal taxes in
        accordance with §§ 346, 505 and 1146 of the Code;

               (b) Hear and determine all disputes involving the existence, nature, scope or
        enforcement of any exculpations, discharges, injunctions and releases granted in
        connection with and under this Plan;

                (c) The correction of any defect, the curing of any omission, or the
        reconciliation of any inconsistency in this Plan or the Confirmation Order as may be
        necessary to carry out the purposes and intent of this Plan.

                (d) To enforce and interpret the terms and conditions of this Plan, including a
        determination of value of Property as required under the Plan, and specifically including
        the right of a party in interest to take action in the event of a default under this Plan.

                 (e) Entry of any order, including injunctions, necessary to enforce the title,
        rights and powers of the Debtors and the Reorganized Debtors, and to impose such
        limitations and terms of such title, rights and powers as the Court may deem necessary.

                (f) Determination of the allowance of any Claims asserted against the Debtors
        for which an objection was filed before the Effective Date of the Plan, and the
        determination of any claims, including Causes of Action, asserted by any Debtors
        against any other person or entity, including but not limited to any right of any
        Reorganized Debtor to recover assets pursuant to the provisions of Title 11 which are
        retained pursuant to 8.02 herein; and .

               (g)   Entry of a final decree closing these Cases.

         10.06 Severability. If any provision in this Plan is determined to be unenforceable, the
determination will in no way limit or affect the enforceability and operative effect of any other
provision of this Plan.




                                               33

Case 3:16-bk-03296        Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28                Desc
                             Main Document    Page 33 of 36
         10.07 Binding Effect. The rights and obligations of any entity named or referred to in
this Plan will be binding upon, and will inure to the benefit of the successors or assigns of such
entity.

        10.08 Captions. The headings contained in this Plan are for convenience of reference
only and do not affect the meaning or interpretation of this Plan.

         10.09 Controlling Effect. Unless a rule of law or procedure is supplied by federal law
(including the Code or the Federal Rules of Bankruptcy Procedure), the laws of the State of
Tennessee govern this Plan and any agreements, documents, and instruments executed in
connection with this Plan, except as otherwise provided in this Plan.

  Dated: September 23, 2017.


                                                       Respectfully submitted,

                                                       Vanguard Healthcare, LLC

                                                       By: /s/ William D. Orand
                                                           CEO

                                                       Vanguard Healthcare Se rvices, LLC

                                                       By: /s/ William D. Orand
                                                           CEO

                                                       Vanguard Financial Services, LLC

                                                       By: /s/ William D. Orand
                                                           CEO

                                                       Aurora Australis, LLC

                                                       By: /s/ William D. Orand
                                                           CEO

                                                       Boulevard Terrace, LLC

                                                       By: /s/ William D. Orand
                                                           CEO

                                                       Eldercare of Jackson County, LLC
                                                       By: /s/ William D. Orand
                                                           CEO



                                               34

Case 3:16-bk-03296        Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28                Desc
                             Main Document    Page 34 of 36
                                            Elderscript Services, LLC

                                            By: /s/ William D. Orand
                                                CEO

                                            Glen Oaks, LLC

                                            By: /s/ William D. Orand
                                                CEO

                                            Palace RBS, LLC

                                            By: /s/ William D. Orand
                                                CEO

                                            Shady Lawn, LLC

                                            By: /s/ William D. Orand
                                                CEO

                                            Vanguard of Ashland, LLC

                                            By: /s/ William D. Orand
                                                CEO

                                            Vanguard of Church Hill, LLC

                                            By: /s/ William D. Orand
                                                CEO

                                            Vanguard of Manchester, LLC

                                            By: /s/ William D. Orand
                                                CEO

                                            Vanguard of Ripley, LLC

                                            By: /s/ William D. Orand
                                                CEO

                                            Vicksburg Convalescent, LLC

                                            By: /s/ William D. Orand
                                                CEO




                                     35

Case 3:16-bk-03296   Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28     Desc
                        Main Document    Page 35 of 36
                                                 Whitehall OpCo, LLC

                                                 By: /s/ William D. Orand
                                                     CEO




/s/ William L. Norton III
William L. Norton III
BRADLEY
1600 Division St., Suite 700
Nashville, TN 37203
Fax: 615-252-2397
bnorton@bradley.com
Attorneys for Debtors




                                          36

Case 3:16-bk-03296        Doc 2090 Filed 10/26/17 Entered 10/26/17 10:17:28   Desc
                             Main Document    Page 36 of 36
